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14                       UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
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16
       ABDIRAHMAN ADEN KARIYE,                  CASE NO. 2:22-CV-1916-FWS-GJS
17     et al.,
18
            Plaintiffs,                          DEFENDANTS’ RESPONSE TO
19
                                                PLAINTIFFS’ APPLICATION RE
20     v.                                       SEALING PLAINTIFFS’ MOTION
21                                                TO COMPEL PRODUCTION
       ALEJANDRO MAYORKAS,
22     Secretary of the U.S. Department of
       Homeland Security, in his official
23     capacity, et al.,
24
            Defendants.
25
26
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1                                     INTRODUCTION
2           Defendants seek to seal one narrow category of information in the filings
3     related to Plaintiffs’ Motion to Compel Production of Documents, ECF No. 105-1:
4     personal identifying information (PII) of Defendants’ employees.
5           For the reasons given below, Defendants respectfully request that the Court
6     grant the pending application to file material under seal as to that discrete category
7     of information.1 In accordance with Local Civil Rule 79-5.2.2(b)(i), Defendants
8     attach as Exhibit 1 a declaration establishing which material they have designated as
9     sealable and the reasons for their designations.
10                                   LEGAL STANDARD
11          “[C]ourts have recognized a ‘general right to inspect and copy public records
12    and documents, including judicial records and documents.’” Kamakana v. City &
13    Cnty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (quoting Nixon v. Warner
14    Commc’ns, Inc., 435 U.S. 589, 597 & n.7 (1978)). So “[a] party seeking to seal a
15    judicial record then bears the burden of overcoming this strong presumption by
16    meeting the “compelling reasons” standard.” Id. However, the “‘good cause’
17    standard of Rule 26(c) will suffice] to warrant preserving the secrecy of sealed
18    discovery material attached to non-dispositive motions.” Id. at 1180 (cleaned up);
19    see also Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1099 (9th Cir.
20    2016) (describing the rule as asking “whether the motion at issue is more than
21    tangentially related to the underlying cause of action).
22
23
24
25    1
       As demonstrated in the attached declaration, Defendants no longer take the position
26    that all information in TECS Reports must be sealed. See ECF No. 105 at 5, Plfs’
      App. Re Sealing Plfs’ Mot. to Compel Production of Documents (hereinafter
27
      “App.”).
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1                                        ARGUMENT
2        A. The “Good Cause” Standard Applies to the Application to Seal
3           “There is no question that the pending motions to compel filed by [Plaintiffs]
4     are nondispositive in nature, implicating the lower ‘good cause’ standards of Rule
5     26(c)” with respect to the application to seal. Lantiq Deutschland GMBH v. Ralink
6     Tech. Corp., No. 11-00234 EJD, 2012 WL 12925103, at *1 (N.D. Cal. Mar. 26,
7     2012); see also Simplehuman, LLC v. iTouchless Housewares & Prods., Inc., No.
8     19-CV-2351-MWF (KSX), 2020 WL 6192012, at *2 (C.D. Cal. Feb. 20, 2020)
9     (same); Webb v. Cnty. of Stanislaus, No. 119CV01716DADEPG, 2021 WL
10    4523978, at *1 (E.D. Cal. Oct. 4, 2021) (same).
11          Plaintiffs suggest otherwise, arguing that “compelling reasons” are needed to
12    seal the information at issue. App. at 5-6. But Plaintiffs’ cited cases all applied the
13    “compelling reasons” standard because those cases concerned dispositive motions,
14    to which the “compelling reasons” standard applies. See Settrini v. City of San
15    Diego, 2022 WL 6785755, at *2 (S.D. Cal. Oct. 11, 2022) (motion for partial
16    summary judgment); Cheatum v. City of San Diego, 2019 WL 3817954, at *2 (S.D.
17    Cal. Aug. 14, 2019) (motion for summary judgment); Louis v. Cnty. of Ventura, 2023
18    WL 5505997, at *1 (C.D. Cal. June 9, 2023) (motion for summary judgment).
19    Plaintiffs cite no cases applying the “compelling reasons” standard to a motion to
20    compel.    And as noted above, documents attached to motions to compel are
21    evaluated under the “good cause” standard.
22          Plaintiffs, however, do argue that only “good cause” is needed to seal
23    Plaintiffs’ own PII because “[the PII] is ‘unrelated, or only tangentially related, to
24    the underlying cause of action.’” App. at 8 (quoting Louis, 2023 WL 5505997, at
25    *1). For the reasons given above, Defendants agree that the “good cause” standard
26    applies to that information. But which sealing standard applies (good cause or
27    compelling reasons) does not depend on how the information to be sealed relates to

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1     the case, but on how the motion the information was submitted to support relates to
2     the case. As the Ninth Circuit explained in Kamanaka, the public has less of a need
3     for access to documents attached to non-dispositive motions, thus the “good cause”
4     standard in Rule 26 suffices to keep such information under seal. See Kamakana,
5     447 F.3d at 1180 (“[W]e treat judicial records attached to dispositive motions
6     differently from records attached to non-dispositive motions.”); Ctr. for Auto Safety,
7     809 F.3d at 1099 (asking “whether the motion at issue is more than tangentially
8     related to the underlying cause of action”). All of the information that any of the
9     parties seek to seal here pertains to the same two motions to compel and thus the
10    good cause standard applies to all of the information sought to be filed under seal—
11    not just the information that Plaintiffs seek to file under seal.
12       B. Both Good Cause and Compelling Reasons Exist to Seal the PII of Non-
13          Plaintiffs, Including Low-Level Government Employees and Other
            Individuals
14
            Personal identifying information is a textbook example of material that may
15
      justifiably be sealed. Here, the parties agree that Plaintiffs’ PII and the PII of third
16
      parties should be sealed. See App. at 8-9. Despite Plaintiffs’ opposition, the PII of
17
      government employees mentioned in the records is no different.
18
            A long line of cases supports protecting the confidentiality of law-
19
      enforcement personnel’s identifying information to protect them from harassment,
20
      annoyance, or threats. See Lesar v. U.S. Dep't of Just., 636 F.2d 472, 487 (D.C. Cir.
21
      1980) (“As several courts have recognized, [FBI] agents have a legitimate interest
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      in preserving the secrecy of matters that conceivably could subject them to
23
      annoyance or harassment in either their official or private lives.”); Creer v. City of
24
      Vallejo, No. 214CV1428JAMDBPS, 2016 WL 5897748, at *1 (E.D. Cal. Oct. 11,
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      2016) (“Defendants shall redact the names of any Vallejo Police Department
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      Officers and replace those names with number identifiers.”); Zhao v. City of New
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1     York, No. 07 CIV. 3636 LAK/MHD, 2007 WL 4205856, at *2 (S.D.N.Y. Nov. 21,
2     2007) (“Defendants may redact the names and other identifying information of any
3     non-party Police Department employees, but not those of the complainants.”).
4           Here, disclosure of the law enforcement officers’ PII—their names—“creates
5     a safety threat and risks unwarranted attribution and attention to the employee.”
6     Declaration of Matthew Davies ¶ 7, Ex. 1. Indeed, “[t]hese risks are not merely
7     speculative, they have actually occurred to DHS employees and are real.” Id. ¶ 10;
8     see also id. ¶ 11 (“CBP employees, including CBP officers like the ones whose
9     names are at issue here, have been subject to harassment, discrimination, and have
10    received threats of physical harm solely because of their employment at CBP.”).
11          Under these circumstances, “Defendants have shown a compelling reason to
12    keep personal identifying information sealed.” Nightingale v. U.S. Citizenship &
13    Immigr. Servs., 507 F. Supp. 3d 1193, 1213 (N.D. Cal. 2020) (sealing information
14    including “the private contact information of ICE and USCIS employees”); see also
15    United States ex rel. 3729, LLC v. Express Scripts Holding Co., No. 19-CV-1199
16    TWR (WVG), 2023 WL 139313, at *1, *2 (S.D. Cal. Jan. 9, 2023) (finding that
17    “compelling reasons exist to file under seal” an exhibit containing “personal
18    identifying information for [U.S. Defense Health Agency] employees”).
19          Even if compelling reasons did not exist to seal the PII of the government
20    employees at issue, good cause would. See Kamakana, 447 F.3d at 1180 (noting
21    that under Fed. R. Civ. P. 26(c) good cause exists when required to “protect a party
22    or person from annoyance, embarrassment, oppression, or undue burden or
23    expense”).
24          Plaintiffs’ arguments to the contrary are unpersuasive. Here, in describing the
25    harm that the officers will face from disclosure, Defendants have provided more than
26    the “conclusory statements” that courts often reject. Id. at 1182. And Plaintiffs’
27    suggestion that the government employees here have lost any right to privacy

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1     because of their decision to seek government employment, App. at 11, defies
2     common sense and the case law. It is true that “high level officials have relatively
3     little privacy interest, and are of much greater public interest, than rank-and-file”
4     employees. Am. C.L. Union of N. California v. Drug Enf’t Admin., No. C 11-01997
5     RS, 2011 WL 13243729, at *12 (N.D. Cal. Oct. 28, 2011). But the employees at
6     issue here are the low-level, rank-and-file employees, and so their status as
7     government employees does not reduce the compelling reasons in avoiding
8     disclosure of their PII. See Voice of San Diego v. Naval Crim. Investigative Serv.,
9     753 F. Supp. 3d 1069, 1106 (S.D. Cal. 2024) (“The Ninth Circuit has recognized
10    that lower-level employees have stronger privacy interests than more senior
11    officials.”).
12                                     CONCLUSION
13           For the foregoing reasons, Defendants respectfully request that the Court
14    GRANT the Application to Seal the limited information that Defendants seek to seal.
15    Dated: May 6, 2025
16                                           Respectfully submitted,
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